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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

IN RE: FEMA                                                                        MDL NO. 1873
FORMALDEHYDE
PRODUCT LIABILITY LITIGATION                                                     SECTION “N-5"

                                                                        JUDGE ENGELHARDT

                                                                        MAG. JUDGE CHASEZ

THIS DOCUMENT IS RELATED TO:
Catherine Mayes and James W. Mayes, et al
v Frontier RV, Inc., et al., Case No. 2:10-cv-480

______________________________________________________________________________

  PLAINTIFFS’ UNOPPOSED SECOND MOTION TO EXTEND TIME TO PERFECT
                          SERVICE ON DEFENDANTS
______________________________________________________________________________

       COME NOW PLAINTIFFS, through undersigned counsel and respectfully request

additional time within which to perfect service on all Defendants. In support thereof, Plaintiffs

show the following:

       1.      The Complaint was originally filed in the Southern District of Mississippi on

December 23, 2009 (Case No. 2:09-cv-269).

       2.      Plaintiffs have been unable to serve the Defendants to date because Plaintiffs have

been unable to identify their contractor and pursuant to Pretrial Order 55, summons could not be

issued. Plaintiffs have undertaken the following efforts to identify their contractor: submitted

their information to FEMA for matching (FEMA’s response only identified their manufacturer);

submitted a request for Plaintiffs’ IA File; and counsel for the Plaintiffs have re-submitted

Plaintiffs’ information to FEMA.



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       3.      David Kurtz, liaison counsel for the Contractor Defendants, and Henry T. Miller,

counsel for the United States Department of Justice, have indicated that they do not oppose

Plaintiffs’ motion.

       WHEREFORE PREMISES CONSIDERED, the Plaintiffs respectfully move this Court to

extend the deadline until August 2nd, 2010, to insure that service is perfected on all parties.

       Respectfully submitted this the 21 day of June, 2010.

                                                       By:            s / Rose M. Hurder
                                                                      Rose M. Hurder

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                                CERTIFICATE OF SERVICE

       I hereby certify that on June 21, 2010 I electronically filed the foregoing with the Clerk of

Court by using the CM/ECF system which will send a notice of electronic filing to all counsel of

record who are CM/ECF participants. I further certify that I mailed the foregoing document and

the notice of electronic filing by first-class mail to all counsel of record who are non-CM/ECF

participants.



                                                                     s / Rose M. Hurder
                                                                     ROSE M. HURDER




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